                       UNITED STATES DISTRICT COURT FOR THE
                          EASTERN DISTRICT OF LOUISIANA



 UNITED STATES ex rel. JOSHUA
 NEMZOFF,                                             CIVIL ACTION No. 2:19-cv-11680 c/w
                                                      19-11682
                        Plaintiffs,
                                                      SECTION: “P” (5)
                v.
                                                      JUDGE DARREL J. PAPILLION

 LOUISIANA CHILDREN’S MEDICAL
 CENTER, INC., ET AL.,                                MAG. JUDGE MICHAEL NORTH

                       Defendants.



                                      NOTICE OF SUBMISSION

       PLEASE TAKE NOTICE that DEFENDANTS’ Consolidated Motion to Dismiss Second

Amended Complaint’s “LINCCA” Claims is hereby set for submission on the 20th day of March,

2024, at 10:00 a.m., before the Honorable Darrel J. Papillion, United States District Judge, United

States District Court for the Eastern District of Louisiana, 500 Poydras Street, New Orleans,

Louisiana.

       Respectfully submitted this 20th day of December, 2023.


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                                CERTIFICATE OF SERVICE

       I do hereby certify that on this 20th day of December, 2023, a copy of the foregoing was

filed electronically with the Clerk of Court using the CM/ECF system. Notice of this filing will

be sent by operation of the court’s electronic filing system to all parties entitled to notice by

electronic notification.

                                                   /s/ Abid R. Qureshi
                                                   Abid R. Qureshi




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